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   8                         UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
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  11   RICK LEE DAUGHERTY,                           Case No. CV 15-06113 DSF (RAO)
  12                      Plaintiff,
  13         v.                                      ORDER ACCEPTING REPORT
                                                     AND RECOMMENDATION OF
  14   STEVEN SALETROS, et al.,                      UNITED STATES MAGISTRATE
                                                     JUDGE
  15                      Defendants.
  16

  17         Pursuant to 28 U.S.C. § 636, the Court has reviewed the Complaint, all of the
  18   other records and files herein, and the Report and Recommendation of United
  19   States Magistrate Judge (“Report”). The time for filing objections to the Report has
  20   passed, and no objections have been filed. The Court hereby accepts and adopts the
  21   findings, conclusions, and recommendations of the Magistrate Judge.
  22         IT IS HEREBY ORDERED that this action is dismissed without prejudice.
  23          12/22/16
  24   DATED: _________________              ___________________________________
                                             DALE S. FISCHER
  25                                         UNITED STATES DISTRICT JUDGE
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